     Case 4:20-cv-03670 Document 18 Filed on 04/18/22 in TXSD Page 1 of 17
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                    IN THE UNITED STATES DISTRICT COURT                 April 18, 2022
                    FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                             HOUSTON DIVISION



FEDELL PRICE,                          §
                                       §
                    Plaintiff,         §
                                       §
v.                                     §
                                       §      CIVIL ACTION NO. H-20-03670
THE KROGER CO. A/K/A KROGER            §
TEXAS, L.P.,                           §
                                       §
                    Defendant.         §


                        MEMORANDUM OPINION AND ORDER

      Pending before the court is Defendant The Kroger Co.'s Motion

for Summary Judgment ("Defendant's Motion") (Docket Entry No. 14).

For reasons stated below, Defendant's Motion will be GRANTED.



                   I.   Factual and Procedural Background

      The following facts are not disputed. Plaintiff, Fedell Price

("Plaintiff") filed this lawsuit on July 30, 2020, in the 240th

Judicial District of Fort Bend County,            Texas. 1   On October 26,

2020, Defendant, The Kroger Co. ("Defendant"), removed the action

to this court on the basis of diversity jurisdiction.2

       Plaintiff alleges that on April 9, 2020, he entered the Kroger



      Plaintiff's Original Petition and Request for Disclosure
       1

("Original Petition"), Exhibit A to Defendant The Kroger Co.'s
Notice of Removal ("Notice of Removal"), Docket Entry No. 1-6,
p. 2. For identification purposes, all page numbers refer to the
pagination imprinted at the top of the page by the court's
electronic case filing ("ECF") system.
       2
           Notice of Removal, Docket Entry No. 1, p. 1.
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store at 6200 Highway 6, Missouri City, Texas for the purpose of

shopping and was injured when he "slipped and fell as a result of
a display poster that was laying on the ground. u 3           Plaintiff has
asserted causes of action against Defendant for premises liability
and negligence. 4        Plaintiff seeks actual and exemplary damages.5
     Cristian Hernandez, an employee of the First Convenience Bank
located inside         the    Kroger store,   witnessed   the accident and
prepared a handwritten witness statement on April 10, 2020, in
which he stated that a
     customer in a wheelchair knocked down [a] COVID-19 sign.
     Then, customer was on the phone looking for toilet paper.
     He was walking back to checkout [and] slipped and fell on
     a COVID-19 sign. While [he was] on the floor I walked to
     him to help him up. Before helping him up, I asked if he
     was ok[.] He responded "I'm fine u [and] got up and walked
     away.
Witness Statement of Cristian Hernandez, Exhibit B to Defendant's
Motion, Docket Entry No. 14-2, p. 2.
     Mr. Hernandez was deposed on January 24,               2022,   and the
following colloquy took place:
     A:       So at the time this happened, I was standing in
              front of the self-checkout and there was a - a lady
              in a scooter - the wheelchair that you - you - more
              like the ones you get at the grocery store for the
              handicap. And she was - she knocked down the sign
              that Kroger had up. And it - it was on the ground,
              and as, like - and when she knocked it down, she
              didn't bother to pick it back up or anything; she
              just went on. And as soon as she had knocked it


     3
         Original Petition, Docket Entry No. 1-6, p. 2 <[<JI 9-11.
     4
         Id. at 3-5 <JI<[ 13-18.
     5
         1.Q..... at 5-7 <JI<[ 19-23.
                                        -2-
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          down, Mister - what is - Mr. Price was walking -
          I'm not sure exactly where he was going, but he
          slipped and fell because of the sign.
          When the - when he fell, I - I asked if he was
          okay.   And I - I was - I was kind of concerned
          because I - I didn't want to touch him, because I
          didn't want him to - to say that, you know, I
          picked him up really fast and something happened to
          him or anything.   So before even helping him - I
          don't think I helped him up.      I think he - he
          helped - he picked himself up. And when he - when
          I asked him if he was okay, he said he was fine
          and, like, took off.   He - he walked pretty fast
          out of there.
     Q:   Mr. Hernandez, you had testified that as soon as
          the lady in the wheelchair or scooter knocked down
          the sign, Mr. Price slipped and fell on it.
          Correct?
     A:    Right.
     Q:   Okay. And approximately how long do you think it
          was after the lady knocked down the sign before Mr.
          Price slipped and fell on the sign?
    A:    Oh,�I want to say five seconds, maybe ten seconds.
          It happened like - like as soon as she knocked the
          sign out - down and it fell on the ground, he came
          right - he came by and walked right - like, right
          in front - like, right on - right on the sign. He
          stepped on it. It was just unfortunate.
     Q:   Do you remember whether Mr. Price was looking down
          at the floor before he slipped and fell on the
          sign? Or do you remember anything about what Mr.
          Price was doing right before he slipped and fell?
     A:    I do - I don't think he was looking down.
Deposition of Cristian Hernandez ("Hernandez Deposition"), Exhibit
A to Defendant's Motion, Docket Entry No. 14-1, p. 6 line 17:17 -
p. 7 line 19:8.
     The manager who was working at Kroger on the day of the


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accident,    Shawana Mcshan,   was also deposed,       and the following
colloquy took place:

       Q.    Can you briefly describe to us what part of your
             training included handling and upkeep of posters?
       A.    And upkeep of the posters?

       Q.    Yes.
       A.    Just that the posters should remain intact in
             stands on the wall.  They should not be on the
             floor,   considered debris  or   any  hazardous
             condition.

       Q.    Anything else?
       A.    Not concerning posters, no.

       Q.    Okay. You stated that posters should not be on the
             floor. Was that your testimony?
       A.    They shouldn't be laying on the floor, correct.
Oral    Deposition of   Shawana Mcshan,      Exhibit A to      Plaintiff's

Response to Defendant's Motion for Summary Judgment (�Plaintiff's
Response"), Docket Entry No. 16-1, p. 6 lines 3 through 15.
       Plaintiff submitted an affidavit in which he stated the
following:
       As I proceeded through the flooring area between the cash
       registers and the grocery racks, I slipped on a poster
       that was lying on the floor, and fell injuring my knees
       and other parts of my body.    I did not see the poster
       laying on the floor before I slipped on it. Also, I did
       not see any poster standing in the flooring area between
       the checkout counters and the grocery racks when I
       entered the Kroger store, nor did I see any poster
       standing in the flooring area between the checkout
       counters and the grocery racks when I finished my
       shopping and went to checkout. I must have been in the
       Kroger store for at least 30 minutes before I fell, and
       I did not see any standing poster in the flooring area

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     where I fell. In my opinion, the poster I slipped on
     must have been laying on the floor before I entered the
     Kroger store on April 9, 2020.
Affidavit of Fedell Price ("Plaintiff's Affidavit u ), Exhibit B to
Plaintiff's Response, Docket Entry No. 16-2, p. 2 � 2.
     Defendant's Motion (Docket Entry No. 14) was filed on March
14, 2022.    Plaintiff filed a response (Docket Entry No. 16) on
April 4, 2022. Defendant filed Defendant The Kroger Co.'s Reply to
Plaintiff's Response to Defendant's Motion for Summary Judgment
("Defendant's Reply") (Docket Entry No. 17) on April 11, 2022.



                          II.   Legal Standard

     Summary judgment is proper if the pleadings,              depositions,
interrogatory    answers,     and   admissions,     together     with      any
affidavits, show there is no genuine issue as to any material fact
and therefore the mover is entitled to judgment as a matter of law.
Fed. R. Civ. P. 56; Celotex Corp. v. Catrett, 106 S. Ct. 2548, 2553
(1986). Disputes about material facts are genuine "if the evidence
is such that a reasonable jury could return a verdict for the
nonmoving party." Anderson v. Liberty Lobby, 106 S. Ct. 2505, 2510
(1986).   The moving party is entitled to judgment as a matter of
law if "the nonmoving party has failed to make a sufficient showing
on an essential element of her case with respect to which she has
the burden of proof.u    Celotex, 106 S. Ct. at 2552. A party moving
for summary judgment "must 'demonstrate the absence of a genuine


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issue of material fact,' but need not negate the elements of the

nonmovant's case."     Little v. Liguid Air Corp., 37 F.3d 1069, 1075

(5th Cir. 1994) (quoting Celotex, 106 S. Ct. at 2553).

       If the moving party meets this burden, Rule 56(c) requires the

nonmovant to go beyond the pleadings and show by admissible

evidence that specific facts exist over which there is a genuine

issue for trial.     Id. The nonmovant "must do more than simply show

that there is some metaphysical doubt as to the material facts."

Matsushita Electric Industrial Co., Ltd. v. Zenith Radio Corp., 106

s. Ct. 1348, 1356 (1986).        When summary judgment is sought by a

defendant on a plaintiff's claim, the plaintiff must present more

than    a   "mere   scintilla"     of   evidence   in    support   of      his

position - he must present "evidence on which the jury could

reasonably find for [him]."       Anderson, 106 S. Ct. at 2512.

       "Credibility determinations have no place in summary judgment

proceedings" because "non-movants' summary judgment evidence must

be taken as true."     Richardson v. Oldham, 12 F.3d 1373, 1379 (5th

Cir. 1994).   "However, '[s]elf-serving allegations are not the type

of significant      probative    evidence   required    to   defeat summary

judgment,' and 'a vague or conclusory affidavit [without more] is

insufficient to create a genuine issue of material fact in the face

of conflicting probative evidence.'"         Koerner v. CMR Construction
& Roofing, L.L.C., 910 F.3d 221, 227 (5th Cir. 2018) (quoting

Kariuki v. Tarango, 709 F.3d 495, 505 (5th Cir. 2013)).            See also


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Cadena v. El Paso County,          946 F.3d 717,     725   (5th Cir. 2020)
(" [A) ffidavits setting forth ultimate and conclusory facts and
conclusions of law are insufficient to either support or defeat a
motion for summary judgment.").             "Therefore,    '[w]hen opposing
parties tell two different stories,           one of which is blatantly
contradicted by the record,           so that no reasonable jury could
believe it, a court should not adopt that version of the facts for
purposes of             summary judgment."'       Koerner, 910 F.3d at 227-
28 (quoting Scott v. Harris, 127 S. Ct. 1769, 1776 (2007)).


                               III.    Analysis

A.     Premises Liability v. Negligent Activity

       Plaintiff contends that Defendant "had such control over the
premises in question that Defendant                 owed certain duties to
Plaintiff, the breach of which proximately caused the injuries set
forth herein." 6
       Parties in control of premises "may be liable for two types of
negligence in failing to keep the premises safe: that arising from
an activity on the premises,          and that arising from a premises
defect."    Clayton W. Williams, Jr.• Inc. v. Olivo, 952 S.W.2d 523,

527 (Tex. 1997).      Negligent-activity and premises liability claims
"involve closely related but distinct duty analyses.             11
                                                                      Western



      Original Petition, Exhibit A to Notice of Removal,
       6
                                                                       Docket
Entry No. 1-6, p. 4 <JI 14.
                                      -7-
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Investments, Inc. v. Urena, 162 S.W.3d 547, 550 (Tex. 2005).

     In a negligent-activity case, a property owner or
     occupier must "do what a person of ordinary prudence in
     the same or similar circumstances would have . . . done,"
     whereas a property owner or occupier in a premises
     liability case must "use ordinary care to reduce or
     eliminate an unreasonable risk of harm created by a
     premises condition which the owner or occupier [of land]
     knows about or in the exercise of ordinary care should
     know about."

United Scaffolding, Inc. v. Levine, 537 S.W.3d 463, 471 (Tex. 2017)

(quoting Tirnberwalk Apartments, Partners, Inc. v. Cain, 972 S.W.2d

749, 753 (Tex. 1998) (alteration in Timberwalk)).

     "[N]egligent activity encompasses a malfeasance theory based

on affirmative, contemporaneous conduct by the owner that caused

the injury, while premises liability encompasses a nonfeasance

theory based on the owner's failure to take measures to make the

property safe."    Del Lago Partners, Inc. v. Smith, 307 S.W.3d 762,

776 (Tex. 2010). "Recovery on a negligent activity theory requires

that the person have been injured by or as a contemporaneous result

of the activity itself rather than by a condition created by the

activity."   Keetch v. Kroger Co., 845 S.W.2d 262, 264 (Tex. 1992).

When a claim does not result from contemporaneous activity, the

claimant has no negligent-activity claim,          and his claim sounds

exclusively in premises-defect. City of Houston v. Gonzales, Cause

No. 14-20-00165-CV, 2021 WL 2154155, at *4 (Tex. App.-Houston [14th

Dist.] May 27, 2021, no pet.) (citing State v. Shumake, 199 S.W.3d

279, 284 (Tex. 2006)).


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B.     Plaintiff's Premises Liability Claim

       "The duty owed by an owner or occupier of premises to an
invitee is not that of an insurer.ff        CMH Homes, Inc. v. Daenen, 15
S.W.3d 97,     101 (Tex. 2000) (citing Wal-Mart Stores,              Inc. v.
Gonzalez, 968 S.W.2d 934, 936 (Tex. 1998)).           "The duty owed is to
exercise reasonable care to protect against danger from a condition
on the land that creates an unreasonable risk of harm of which the
owner or occupier knew or by the exercise of reasonable care would

discover.ff    CMH Homes, Inc., 15 S.W.3d at 101 (citing Corbin v.
Safeway Stores, Inc., 648 S.W.2d 292, 296 (Tex. 1983)); accord
Henkel v. Norman, 441 S.W.3d 249, 251 (Tex. 2014).
       To prevail on a premises liability claim against a
       property owner, an injured invitee must establish four
       elements:   (1) the property owner had actual or
       constructive knowledge of the condition causing the
       injury; (2) the condition posed an unreasonable risk of
       harm; (3) the property owner failed to take reasonable
       care to reduce or eliminate the risk; and (4) the
       property owner's failure to use reasonable care to reduce
       or eliminate the risk was the proximate cause of injuries
       to the invitee.
Henkel, 441 S.W.3d at 251-52 (citing CMH Homes, Inc., 15 S.W.3d at
99).
       The first element, actual or constructive knowledge of some
condition on the premises by the owner or operator, is often the
dispositive issue.      An owner or occupier has sufficient knowledge
of a condition to be liable for the injuries caused by the
condition if the plaintiff proves that the defendant "(1) put the
foreign substance on the floor; or (2) knew that it was on the

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floor and negligently failed to remove it; or (3) that the foreign

substance was on the floor so long that it should have been

discovered and removed in the exercise of ordinary care."          Keetch,

845 S.W.2d at 265    {quoting Robledo v. Kroger Co., 597 S.W.2d 560,

560 {Tex. App.-Eastland 1980, write ref'd n.r.e.).

      For a premises owner or operator to have actual knowledge of

a condition, the owner or operator must know the hazard existed but

negligently failed to cure it.       Keetch, 845 S.W.2d at 265.            "To

prove the actual-knowledge element of a viable premises-defect

claim, the [plaintiff] must show that at the time of the incident,

the   [owner/operator of the premises]       knew about the dangerous

condition."     City of Denton v. Paper, 376 S.W.3d 762, 767 {Tex.

2012) {citing City of Corsicana v. Stewart, 249 S.W.3d 412, 413-15

{Tex. 2008)).    But "the actual knowledge required for liability is

of the dangerous condition at the time of the accident, not merely

of the possibility that a dangerous condition can develop over

time."   Reyes v. City of Laredo, 335 S.W.3d 605, 608 {Tex. 2010).

      "Constructive knowledge is a substitute in the law for actual

knowledge."   CMH Homes, Inc., 15 S.W.3d at 102.       "In premises cases

constructive knowledge can be established by showing that the

condition had existed long enough for the owner or occupier to have

discovered it upon reasonable inspection."        Id. at 102-03.

      The Texas Supreme Court has stated that the rule requiring

proof that a dangerous condition existed for some length of time

before a premises owner may be charged with constructive notice is

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deeply rooted in Texas jurisprudence.            Brookshire Grocery Co. v.
Taylor, 222 S.W.3d 406, 409 (Tex. 2007); Wal-Mart Stores, Inc., 81
S.W.3d at 815-816. The rule emerged from the Texas Supreme Court's
"reluctance      to    impose   liability   on   a   storekeeper   for     the
carelessness of another over whom it had no control or for 'the
fortuitous act of a single customer' that could instantly create a
dangerous condition."       Id.
     Plaintiff alleges that "Defendant's agents,            servants,      and
employees negligently permitted the display poster to be laying on
the floor,      negligently or willfully allowed such condition to
continue and negligently or willfully failed to warn Plaintiff of
the condition of the floor." 7      Plaintiff cannot show that Defendant
had actual knowledge of the hazard by showing that Defendant placed
the poster in an area where it could possibly be knocked over.             To
show actual knowledge, Plaintiff would have to show that Defendant
was aware that the poster was creating a dangerous condition at the
time of the accident.           See Reyes, 335 S.W.3d at 608.       Because
Plaintiff provides no evidence that Defendant or Defendant's agents
knocked the sign over or placed it lying on the floor where it
would be a hazard, there is nothing to support a claim of actual
knowledge.       See Keetch,    845 S.W.2d at 265.      Plaintiff's claim
therefore depends on whether the poster was lying on the ground
long enough for Defendant to be charged with constructive knowledge


     7
         Id. '11 15.
                                     -11-
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of the hazard.       See id.

        Plaintiff   alleges    that   "the condition of     the   floor     had

continued for such period that, had Defendant . . . or Defendant's

agents exercised ordinary care in the maintenance of the floor

surface area, it would have been noticed and corrected by such

persons. " 8    Plaintiff's only evidence for this claim is his own

affidavit,     in which he states that he did not see the poster

standing up during the time he was shopping at the store, and

therefore, "in [his] opinion, the poster [he] slipped on must have

been laying on the floor before [he] entered the Kroger store on

April 9, 2020." 9      These "'[s]elf-serving allegations are not the

type of significant probative evidence required to defeat summary

judgment[.]'"       Koerner, 910 F.3d at 227 (quoting Kariuki, 709 F.3d

at 505.        "'[A] vague or conclusory affidavit [without more] is

insufficient to create a genuine issue of material fact in the face

of conflicting probative evidence.'"         Id.   Plaintiff does not state

that he saw the poster lying on the floor for an extended period of

time.     Instead, he merely assumes that it must have been lying

there because he did not notice it until he tripped over it.              This

assumption is contradicted by the testimony of Cristian Hernandez,

who saw a woman in a scooter or wheelchair knock the sign over just




      Plaintiff's Affidavit, Exhibit B to Plaintiff's Response,
      9

Docket Entry No. 16-2, p. 2.
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five to ten seconds before Plaintiff tripped on it. 10 The probative

evidence    establishes      that    "'the   fortuitous   act   of    a   single
customer'               instantly create[d] a dangerous condition [,]" and
therefore Defendant is not liable. See Brookshire Grocery Co., 222
S.W.3d at 409.
     It is not Defendant's burden to show that the poster was
properly mounted and secured before someone knocked it down and
Plaintiff tripped over it.           Little, 37 F.3d at 1075.         Defendant

only needs to show that Plaintiff has not met his burden of showing

that Defendant had actual or constructive knowledge of the hazard
that was created when the poster got knocked down.              Id.   Defendant
has done this.      No reasonable juror could conclude based on the
evidence in the record that Defendant laid the poster on the floor
where it would be a hazard or that Defendant carelessly allowed the

poster    to   remain    there. 11    Accordingly,   Plaintiff's premises


      Hernandez Deposition, Exhibit A to Defendant's Motion, Docket
     10

Entry No. 14-1, p. 7 lines 18:14 through 18:23.
     11Corbin, 648 S.W.2d at 296, is instructive here. In Corbin,
an invitee sued a department under a premises-liability theory
because he slipped on a grape and fell. Id. The invitee argued
that "the presence on the floor of the specific grape on which he
slipped posed an unreasonable risk of harm and that Safeway had
constructive knowledge of that risk." Id. The invitee testified
that the store had constructive knowledge of the risk because
"grapes lying around him were discolored and ruptured[,]"
suggesting that "the grapes had been on the floor a sufficient time
to impute knowledge of their location to Safeway." .liL_ The Texas
Supreme Court held that this was not sufficient evidence to raise
a jury issue as to the store's constructive knowledge of the grape,
in part because "[t]he aging and discoloration may just as likely
                                                          (continued... )
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liability claim fails as a matter of law, and Defendant's Motion as
to that claim will be granted.



C.     Plaintiff's Negligence Claim

       The elements of a cause of action for negligence are (1) the
defendant owed a legal duty to the plaintiff;                 ( 2) the defendant
breached that duty; and         (3)    the breach proximately caused the
plaintiff's injury.        Nabors Drilling, U.S.A. v. Escoto, 288 S.W.3d

401, 404    (Tex. 2009).
       The basis for Plaintiff's negligence claim appears to be that
Defendant "negligently permitted the display poster to be laying on
the floor,     negligently or willfully allowed such condition to
continue and negligently or willfully failed to warn Plaintiff of
the condition of the floor." 12        This is the same alleged conduct on
which Plaintiff's premises-liability claim is based.
       "Recovery on a negligent activity theory requires that the
person have been injured by or as a contemporaneous result of the

activity     itself   rather    than    by    a   condition    created   by   the

(...continued)
have occurred before as after the grapes fell, and the rupturing
could have been caused during or soon before Corbin's accident."
Id. Here, the fact that Plaintiff did not notice the sign until he
tripped over it is not sufficient to raise a jury issue as to the
store's constructive knowledge of the sign.
      0riginal Petition, Exhibit A to Notice of Removal, Docket
       12

Entry No. 1-6, p. 4 'lI 15; see also id. 'lI 16 (" [T]he condition of
the   floor   had    continued    for   such    period    that,   had
Defendant .       or Defendant's agents exercised ordinary care in
the maintenance of the floor surface area, it would have been
noticed and corrected by such persons.").
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activity."      Keetch, 845 S.W.2d at 264 (emphasis added).                          A claim

that does not result from contemporaneous activity is not a

negligent-activity claim, but instead is a premises-defect claim.

Gonzales,     2021 WL 2154155,            at *4.     Yet in the section of his

response specifically addressing his negligence claim, Plaintiff

argues that "Plaintiff was an invitee of [Defendant's] store, a

condition on [Defendant's] premises created an unreasonable risk of

harm,     [Defendant]      knew      or should      have      known    of   the       danger,

[Defendant] breached its duty of ordinary care by failing to warn

[Plaintiff],        and        [Defendant's]        breach       proximately             caused

[Plaintiff's] injury. 1113            These are the elements of a premises

liability claim, not a negligence claim.

        Plaintiff    does      not    present      any   evidence      that         Defendant

breached a      duty      it    owed Defendant,          that    the   alleged           breach

proximately caused Plaintiff's injuries,                      or that Plaintiff was

injured by or as a contemporaneous result of Defendant's negligent

activities.      There is no genuine dispute as to any material fact

with respect to Plaintiff's negligence claim against Defendant.

Accordingly,        Defendant        is   entitled       to     summary     judgment        on

Plaintiff's negligence claim.




D.      Exemplary Damages

        13Plaintiff's     Response, Docket Entry No. 16, p. 6                 <J[   4.
                                           -15-
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     Plaintiff has asserted a claim against Defendant for exemplary
damages, asserting that Defendant's conduct "involved an extreme
degree of risk, considering the probability and magnitude of the
potential harm to Plaintiff and others[,]" and that Defendant "had
actual, subjective awareness of the risk involved in the above
described acts or omissions,          but nevertheless proceeded with
conscious indifference to the rights,            safety,   or welfare of
Plaintiff and others." 14     This is a claim of gross negligence,

which, along with fraud and malice, is one of the three ways a
claimant may seek recovery for exemplary damages under Chapter 41
of the Texas Civil Practice    &   Remedies Code ("CPRC"). 15 For reasons
stated above, Plaintiff's ordinary negligence claim fails as a
matter of law.   Plaintiff has produced no evidence that Defendant
was subjectively aware that the sign was lying on the floor where
it could be a tripping hazard, much less that Defendant manifested
"conscious indifference to the rights, safety, or welfare" of
Plaintiff or any other invitees.           Plaintiff does not argue that
Defendant acted fraudulently or maliciously, and Plaintiff presents
no evidence to support such claims.         Therefore, Plaintiff's claim


      0riginal Petition, Exhibit A to Notice of Removal, Docket
     14

Entry No. 1-6, p. 5 !JI 19.
     15
          �  CPRC § 41. 001 ( 11)  (defining "gross negligence");
§ 41. 003 (a) (providing that "exemplary damages may be awarded only
if the claimant proves by clear and convincing evidence that the
harm with respect to which the claimant seeks recovery of exemplary
damages results from (1) fraud;         (2) malice; or (3) gross
negligence.").
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for exemplary damages fails as a matter of law.


                      IV.   Conclusion and Order

     Because Plaintiff has failed to make a sufficient showing on
essential elements of his case with respect to which he has the
burden of proof, Celotex, 106 S. Ct. at 2552, Defendant The Kroger

Co.'s Motion for Summary Judgment (Docket Entry No. 14) is GRANTED,

and this action will be dismissed with prejudice.

     SIGNED at Houston, Texas, on this the 18th day of April, 2022.




                                                SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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